11/4/21, 1:45 PM     Case 1:04-cv-01194-RJL Document 1200-1
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                                                        - Neil Koslowe     11/04/21 Page 1 of 1
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    RE: Qassim v. Biden: Weekend Habeas Visit November 13/14

               Wolfe, Kristina (CIV) <Kristina.Wolfe@usdoj.gov>                                                  
      WK       Tue 11/2/2021 12:01 PM
               To: Neil Koslowe; Elliott, Stephen M. (CIV) <Stephen.M.Elliott@usdoj.gov>
               Cc: Thomas Wilner <TWilner@Shearman.com>; 'Mark Maher' <Mark.Maher@reprieve.org.uk>

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               ⚠ EXTERNAL
               Hi Neil,

               Thank you for your patience while I conferred with DoD OGC’s habeas travel coordinators. As you are
               aware, DoD has a long-standing policy of limiting weekend habeas visits to situations where exigent
               circumstances warrant such an extraordinary accommodation. This policy was reaffirmed in the April 7,
               2021, memorandum that was issued to habeas counsel, which is attached for your convenience. Such
               exigent circumstances are typically confined to situations involving merits hearings or related matters
               involving firm litigation deadlines requiring in-person preparation with a detainee; no such
               circumstances are involved here.

               You state below that it is essential for Tom to “meet with Mr. Qassim independently and prior to his
               meeting with PRB co-counsel to advise him on the issues in his habeas case, including his pending
               motion for summary judgment, so that he is fully informed about its status prior to his attendance at
               the PRB.” But according to Periodic Review Secretariat (PRS) records, your habeas co-counsel, Mr.
               Maher, will also be serving as Mr. Qassim’s private counsel during the PRB hearing, and Mr. Maher’s
               request to meet with Mr. Qassim November 10, 11 and 15 has been approved. Given that Mr. Maher is
               part of Mr. Qassim’s habeas team, Mr. Maher can provide Mr. Qassim with the status update during his
               approved habeas visits on November 10 and 11 and, of course, both Mr. Maher and Tom can discuss the
               current status of the habeas case when they meet with Mr. Qassim on November 15, the day before the
               PRB hearing

               I understand that Tom is not scheduled to travel to Guantanamo until November 12. In the interest of
               accommodating your request, Tom may submit a request for a secure or unsecure telephone call with
               Mr. Qassim for November 8 or 9, and DoD will do its best to accommodate that request, if he would like
               to speak with Mr. Qassim before Mr. Maher’s first visit on November 10.

               Best,
               Kristina

               From: Neil Koslowe <nkoslowe@potomaclaw.com>
               Sent: Monday, November 01, 2021 2:05 PM
               To: Wolfe, Kristina (CIV) <Kristina.Wolfe@usdoj.gov>; Elliott, Stephen M. (CIV)
               <Stephen.M.Elliott@usdoj.gov>
               Cc: Thomas Wilner <TWilner@Shearman.com>; 'Mark Maher' <Mark.Maher@reprieve.org.uk>
               Subject: [EXTERNAL] Re: Qassim v. Biden: Weekend Habeas Visit November 13/14


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